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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


EL AMIN MUHAMMAD,

               Plaintiff,
                                                              CASE NO. 1:16-CV-1466
v.
                                                              HON. ROBERT J. JONKER
KYLE A. NEHER,

            Defendant.
__________________________________/

              ORDER AFFIRMING MAGISTRATE JUDGE’S DECISION and
            APPROVING AND ADOPTING REPORT AND RECOMMENDATION

       1.      Appeal of Magistrate Judge’s Decision

               Magistrate Judge Kent issued orders (ECF Nos. 25, 26) striking Plaintiff’s petitions

and motions (ECF Nos. 18 and 22) as improvidently filed and denying plaintiff’s motions (ECF Nos.

10 and 14) as improvidently filed. Plaintiff appeals the Magistrate Judge’s decisions. (ECF No.

32.)1 Plaintiff’s appeal lacks merit.

       In considering an appeal of a magistrate judge’s ruling on a nondispositive pretrial motion,

the Court applies a “clearly erroneous or contrary to law” standard of review. United States v.

Curtis, 237 F.3d 598, 603 (6th Cir. 2001) (citing United States v. Raddatz, 447 U.S. 667, 673

(1980)); accord Brown v. Wesley’s Quaker Maid, Inc ., 771 F.2d 952, 954 (6th Cir. 1985) (citing 28

U.S.C. § 636(b)(1)(a)); see also FED. R. CIV. P. 72(a) (District judge must consider timely objections

to nondispositive pretrial orders of magistrate judge and modify or set aside any part of order that



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         Plaintiff’s filing is entitled “Petition for relief from a Judgment or Order.” (ECF No. 32.)
The Court construes this filing as an appeal of Magistrate Judge’s decisions on nondispositive pre-
trial motions.
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is clearly erroneous or is contrary to law.) A finding is “clearly erroneous” when “‘the reviewing

court on the entire evidence is left with the definite and firm conviction that a mistake has been

committed.’” Anderson v. City of Bessemer City, North Carolina, 470 U.S. 564, 573 (1985)

(quoting United States v. United States Gypsum Co., 333 U.S. 364, 395 (1948)).

       The Court finds no error in the Magistrate Judge’s decisions. To the contrary, the Court finds

the Magistrate Judge’s Orders entirely proper. The Orders are factually sound and legally correct.

Plaintiff’s appeal lacks merit. Petitioner’s appeal (ECF No. 32) is OVERRULED.

       2.      Objections to Report and Recommendation

       The Court has reviewed Magistrate Judge Kent’s Report and Recommendation in this matter

(ECF No. 27) and Plaintiff’s Objections to the Report and Recommendation (ECF No. 31). Under

the Federal Rules of Civil Procedure, where, as here, a party has objected to portions of a Report and

Recommendation, “[t]he district judge . . . has a duty to reject the magistrate judge’s

recommendation unless, on de novo reconsideration, he or she finds it justified.” 12 WRIGHT,

MILLER, & MARCUS, FEDERAL PRACTICE AND PROCEDURE § 3070.2, at 381 (2d ed. 1997).

Specifically, the Rules provide that:

               [t]he district judge must determine de novo any part of the magistrate
               judge’s disposition that has been properly objected to. The district
               judge may accept, reject, or modify the recommended disposition;
               receive further evidence; or return the matter to the magistrate judge
               with instructions.

FED R. CIV. P. 72(b)(3). De novo review in these circumstances requires at least a review of the

evidence before the Magistrate Judge. Hill v. Duriron Co., 656 F.2d 1208, 1215 (6th Cir. 1981).

The Court has reviewed de novo the claims and evidence presented to the Magistrate Judge; the




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Report and Recommendation itself; and Plaintiff's objections. After its review, the Court finds that

Magistrate Judge Kent’s Report and Recommendation is factually sound and legally correct.

         The Magistrate Judge recommends that the Court dismiss the action as frivolous under FED.

R. CIV. P. 12(b)(1).        Plaintiff’s Objections fail to come to grips with the Report and

Recommendation in any meaningful way.            Nothing in Plaintiff’s Objections changes the

fundamental analysis. The Court agrees with the Magistrate Judge’s conclusion that the only

federal claim must be dismissed as frivolous under Rule 12(b)(1) and because it fails on the merits

in any event. To the extent non-federal claims remain, they belong in state court. See 28 U.S.C.

§ 1367(c)(3).

         ACCORDINGLY, IT IS ORDERED that the Report and Recommendation of the

Magistrate Judge (ECF No. 27) is approved and adopted as the opinion of the Court to the extent

consistent with this Order.

         IT IS FURTHER ORDERED:

         1.     Plaintiff’s Motion to Amend or Correct (ECF No. 20) is DENIED.

         2.     Plaintiff’s federal claim is DISMISSED as frivolous under FED. R. CIV. P. 12(b)(1).

         3.     Defendant’s Motion to Dismiss (ECF No. 6) is GRANTED to the extent Defendant

                seeks dismissal of the federal claim and DISMISSED without prejudice in all other

                respects.

         4.     Plaintiff’s Motion to Take Deposition [29] is DISMISSED as moot.

         5.     Any remaining non-federal claims are REMANDED to Muskegon County Circuit

                Court.



Dated:        September 14, 2017              /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE

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